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                                 UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------------------X
JANE DOE, LUKE LOE, RICHARD ROE, and MARY :
MOE, individually and on behalf of all others similarly                 :
situated,                                                               :
                                                                        :
                                         Plaintiffs,                    :
                  v.                                                    : No. 1:18-cv-09936 (LGS)
                                                                        :
THE TRUMP CORPORATION, DONALD J. TRUMP, in :
his personal capacity, DONALD TRUMP, JR., ERIC                          :
TRUMP, and IVANKA TRUMP,                                                :
                                                                        :
                                         Defendants.                    :
------------------------------------------------------------------------X
                           DEFENDANTS’ NOTICE OF APPEAL

       Notice is hereby given that, pursuant to Title 9, United States Code, Sections

16(a)(1)(A) & (B), Defendants The Trump Corporation, Donald J. Trump, Donald Trump Jr.,

Eric Trump, and Ivanka Trump (“Defendants”), appeal to the United States Court of Appeals

for the Second Circuit from the Opinion & Order signed by the Honorable Lorna G. Schofield

of this Court on April 8, 2020 (ECF No. 229), denying Defendants’ Motion to Compel

Arbitration, and from any and all of the Court’s rulings adverse to Defendants incorporated in,

antecedent to, or ancillary to the Opinion & Order.

Dated: April 13, 2020
                                              By:     /s/ Joanna C. Hendon
                                                      Joanna C. Hendon
                                                      Cynthia Chen
                                                      Andrew L. Kincaid
                                                      SPEARS & IMES LLP
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                                                      Counsel for Defendants


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To:   CLERK OF COURT
      United States District Court for the Southern District of New York
      The Daniel Patrick Moynihan U.S. Courthouse
      500 Pearl Street
      New York, New York 10007




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